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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

SIGNET MARITIME                                  §
CORPORATION                                      §
                                                 §         CIVIL ACTION NO. _______
         Plaintiff,                              §
                                                 §         Admiralty Fed. R. Civ. P. 9(h)
V.                                               §
                                                 §
ANGLO-EASTERN SHIP                               §
MANAGEMENT PTE LTD;                              §
BOSKALIS OFFSHORE                                §
HEAVY MARINE;                                    §
in personam, and the                             §
M/V MIGHTY SERVANT 3,                            §
her engines, tackle, gear, apparel, etc.,        §
in rem                                           §
                                                 §
         Defendants.                             §

     PLAINTIFF SIGNET MARITIME CORPORATION’S
                ORIGINAL COMPLAINT
          Plaintiff Signet Maritime Corporation (“Signet”) files this Original Complaint against

Defendants the M/V MIGHTY SERVANT 3, her engines, tackle, etc., in rem (the “MS3”),

Anglo-Eastern Ship Management Pte Ltd. in personam (“Anglo-Eastern”), and Boskalis

Offshore Heavy Marine Transport B.V. in personam (“Boskalis”) (collectively “Defendants”),

respectfully showing as follows:

                                   I. JURISDICTION AND VENUE

         1.1     This is a cause of action for a maritime tort and a maritime lien within the

admiralty and maritime jurisdiction of the United States and this Honorable Court in accordance

with Section 1333 of Title 28 of the United States Code, Rule 9(h) of the Federal Rules of Civil

Procedure, and Rule B and Rule C of the Supplemental Rules for Certain Admiralty & Maritime




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Claims. The general maritime law of the United States is thus invoked, because, as will more

fully appear, this is a cause of action for enforcement of a maritime lien, negligence, and

maritime tort under the general maritime law.

         1.2     Venue is proper in this Court under 28 U.S.C. § 1391(b), because a substantial

part of the events or omissions giving rise to the claim occurred in the Southern District of Texas

and a substantial part of the property that is the subject of the action is situated in the Southern

District of Texas.

                                           II. PARTIES

         2.1     Signet is a domestic corporation duly organized and existing under and by virtue

of the laws of the State of Texas with its principal office located in Harris County, Texas. Signet

owns the tug SIGNET POLARIS.

         2.2     The MS3, IMO No. 8130899, is a Curacao-flagged heavy lift vessel. A verified

statement of right or interest by and on behalf of owners of the MS3 is expected pursuant to a

Letter of Undertaking provided in connection with this matter.

         2.3     Anglo-Eastern is a foreign corporation or other foreign business entity with an

office and a principal place of business located at Kingston International Center, 17th Floor, 19

Wang Chiu Road, Kowloon Bay, Kowloon, Hong Kong, China. Anglo-Eastern is and was at all

relevant times the employer of the MS3’s crew and officers. Anglo-Eastern may be served by

mailing two copies of Request for Service Form together with two copies of the documents to be

served to the Hong Kong, China, Chief Secretary for Administration:

         Chief Secretary for Administration
         Hong Kong Special Administrative Region Government
         Room 321, 3/F, East Wing
         Central Government Offices
         2 Tim Mei Avenue
         Admiralty




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         Hong Kong, China
         Email: cso@cso.gov.hk

         2.4     Boskalis is a foreign corporation or other foreign business entity with an office

and a principal place of business located at Rosmolenweg 20, 3356 LK Pependrecht,

Netherlands. Boskalis is and was at all relevant times the operator of the MS3. Pursuant to the

Hague Convention on the Service Abroad of Judicial and Extrajudicial Documents, Boskalis

may be served by mailing two copies of Request for Service Form together with two copies of

the documents to be served to the Netherlands Central Authority:

         De Officier van Justitie
         Postbus 20302
         2500 EH THE HAGUE
         Netherlands
         Tel.: (0)88 699-1300
         Email: serviceconvention@om.nl

                                             III. FACTS

         3.1     On or around May 27, 2020, the MS3 passed inbound through the Port Aransas

Jetties and was proceeding towards the Gulf Coast Growth Ventures dock in or near Portland,

Texas, under orders to unload cargo. At all relevant times, the MS3 was within the navigable

waters of the Unites States of America and within the jurisdiction of the Southern District of

Texas, Corpus Christi Division.

         3.2     On or around May 27, 2020, before passing through the Port Aransas Jetties, the

MS3 took on one or more compulsory pilots.

         3.3     During the inshore transit, at all times material to this claim, the MS3 was under

compulsory pilot navigation, but remained under the control, operation, and management of

Boskalis and Anglo-Eastern.




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         3.4     After taking on the pilot(s), Defendants failed to follow their own procedures for

the master/pilot exchange, during which key information concerning the transit and the MS3’s

handling characteristics should have been exchanged. Defendants failed to follow their own

procedures both as to the material exchanged and the procedures for exchanging those materials.

         3.5     During the MS3’s inshore transit, near the Moda Ingleside Energy Center in

Ingleside, Texas, the MS3 met three Signet tugs, the SIGNET POLARIS, the SIGNET

ARCTURUS, and the SIGNET AMERICA (the Signet Tugs), which were to assist the MS3 in

berthing at Gulf Coast Growth Ventures.

         3.6     While assisting the MS3, the Signet Tugs were under the direction and orders of

Defendants, including, without limitation, through one or more of the compulsory pilots on board

the MS3.

         3.7     When the MS3 met the Signet Tugs near the Moda Ingleside Energy Center, the

MS3, through one or more of its compulsory pilots, instructed the SIGNET POLARIS and

SIGNET AMERICA to shadow the MS3 on the MS3’s port and starboard sides as the MS3

proceeded to its berth at Gulf Coast Growth Ventures. The SIGNET AMERICA shadowed the

MS3 on the ship’s starboard side and the SIGNET POLARIS shadowed the MS3 on the ship’s

port side. The SIGNET ARCTURUS made up to the MS3’s stern as the MS3, through one or

more of its compulsory pilots, instructed.

         3.8     Before meeting up with the Signet Tugs, during the inshore transit, one or more

pilots on board the MS3 found the MS3 to steer in a “sluggish” manner and experienced one or

more instances in which the MS3 “made a run” toward the bank during a turn. Neither the pilots,

Defendants, nor anyone on board the MS3 advised the Signet Tugs of these issues at any time

before the incident made the basis of this suit.




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         3.9     After meeting the Signet Tugs, on the approach before the turning basin across

from Gulf Coast Growth Ventures, while engaged in making a port turn, the MS3 made what one

or more of the pilots later referred to as a “hard run to port.”

         3.10    At the time, the MS3 was traveling at an excessive speed. Due to the MS3’s

excessive speed and steering errors, the MS3 left the navigable portion of the channel and/or

came too close to the green side bank, which was then on the MS3’s port side. The MS3 was

traveling well in excess of the speed called for in the MS3’s own passage plan. Significantly, the

officers and crew of the MS3 failed to provide the pilots with the passage plan and never notified

the pilots of the passage plan’s specifications regarding speed.

         3.11    During the turn in question, the SIGNET POLARIS, which was on the port side

of the MS3, notified the MS3 that the SIGNET POLARIS was being forced into shallow water.

         3.12    Prior to this turn, neither the MS3 nor the pilots on board instructed the Signet

Tugs to attempt to alter the MS3’s course.

         3.13    During this turn, the MS3, through its pilot(s), officers, and/or crew, caused the

ship to leave the channel and/or come too close to the green side bank, and in an attempt to

correct this error, ordered the SIGNET POLARIS to push on the port bow of the MS3. The

SIGNET POLARIS executed this maneuver as instructed. This maneuver was an attempt to

push the bow of the MS3 away from the port bank.

         3.14    During this turn, the MS3, through its pilot(s), also ordered the SIGNET

ARCTURUS to pull on the MS3’s stern. The SIGNET ARCTURUS executed this maneuver as

instructed. This maneuver was an attempt to correct the MS3’s course.

         3.15    During this turn, the MS3 engaged one or more of its bow thrusters. This action

was to an attempt to push the bow of the MS3 away from the port bank.




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         3.16    None of these actions, together or separately, sufficiently corrected the course of

the MS3. Further, these and other acts and omissions attributable to Defendants closed the only

escape route available to the SIGNET POLARIS.

         3.17    As a result, the MS3 forced the SIGNET POLARIS to ground in shallow water on

the port side of the MS3.

         3.18    While the SIGNET POLARIS was grounded and stationary, the MS3 also

grounded but continued to proceed forward, alliding with the hull of the SIGNET POLARIS

until the overlaying deck of the MS3 struck and ultimately hooked onto the SIGNET POLARIS.

         3.19    The MS3 then dragged the SIGNET POLARIS across the bank between markers

23 and 25, as the MS3 proceeded to its berth at Gulf Coast Growth Ventures.

         3.20    The SIGNET POLARIS requested that the MS3 berth starboard side alongside,

but the MS3 refused to do so.

         3.21    The SIGNET POLARIS sustained substantial damage as a result of this incident,

including, without limitation, substantial damage to its hull and port thruster drive. The damage

was so severe that the SIGNET POLARIS had to be dry-docked and will be out of service for an

extended period.

         3.22    At all material times the Signet Tugs followed the instructions given by the

MS3’s pilots, officers, and crew.

                                      IV. CAUSES OF ACTION

         4.1     Each of the Defendants are liable and accountable for Signet’s damages in that

such damages resulted from and were caused by negligent acts and/or omissions of Defendants,

their officers, crew, agents, representatives, and/or employees. These negligent acts and/or

omissions include, without limitation, the following;




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          (a)    failing to use reasonable care in preventing the collision;

          (b)    failing to use reasonable care in limiting the severity of the collision;

          (c)    failing to warn the Signet tugs, including the SIGNET POLARIS, of the MS3’s

                 handling characteristics and tendencies to “make runs” during turns;

          (d)    providing instructions, or failing to object to or override instructions, that resulted

                 in the SIGNET POLARIS being placed in jeopardy and struck;

          (e)    traveling at an excessive speed;

          (f)    traveling outside the navigable channel and/or too close to the bank;

          (g)    forcing the SIGNET POLARIS into shallow water;

          (h)    forcing the SIGNET POLARIS to ground;

          (i)    failing to move away from the SIGNET POLARIS;

          (j)    continuing to drag the SIGNET POLARIS through shallow water after the

                 collision;

          (k)    alliding with the SIGNET POLARIS after the SIGNET POLARIS was grounded

                 and stationary. Signet therefor invokes the Oregon Rule. See The Oregon, 158

                 U.S. 186, 197 (1895);

          (l)    failing to exercise reasonable care in monitoring the surrounding conditions;

          (m)    failing to exercise reasonable care in compensating for the surrounding

                 conditions;

          (n)    failing to maintain a safe speed;

          (o)    failing to keep a proper lookout;

          (p)    violating accepted rules and regulations for preventing collisions, including but

                 not limited to maritime Navigation Rules of the Road, and other violations and




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                 breaches of proper navigation and good seamanship techniques, rules, standards,

                 customs and practices. Signet therefor invokes the Pennsylvania Rule. See The

                 Pennsylvania, 86 U.S. 125 (1873);

          (q)    failing to follow, or require and/or ensure the following of, their own procedures,

                 including, without limitation, their procedures relating to the master/pilot

                 exchange and their procedures regarding the appropriate speed during the relevant

                 portion of the transit;

         (r)     failing to intervene, override, or sufficiently assist the pilot(s) even though

                 Defendants knew, or should have known, that the pilot(s) were not safely conning

                 the MS3.

         4.2     Each of the foregoing acts or omissions were committed by each of the

Defendants, either directly or through their officers, crew, agents, or employees, and each of the

foregoing acts or omissions constitute negligence that proximately caused the incident and

Signet’s damages. Each of the Defendants is liable for each of these acts or omissions, either

directly or through the doctrine of respondeat superior.

         4.3     Signet invokes the doctrine of res ipsa loquitor because the character of the

incident was such that it would not have happened in the absence of negligence, and the

instrumentality causing the occurrence exclusively was within Defendants’ control.

                                            V. DAMAGES

         5.1     Each of the Defendants’ acts or omissions was a direct and proximate cause of the

collision, and of actual, incidental, and consequential damages to Signet.         Those damages

include, but are not limited to, physical damage to the SIGNET POLARIS, survey/inspection

costs, incident response costs, overhead, pollution response costs, governmental penalties, repair




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costs, replacement costs, loss of use, business interruption, and loss of profits. At this time, the

repair costs alone will likely exceed $2,000,000. and the loss of use will likely exceed

$3,000,000. All of these damages were proximately caused by Defendants’ negligence. At all

material times, SIGNET mitigated its damages in a commercially reasonable manner.

                                    VI. CONDITIONS PRECEDENT

         6.1     Signet satisfied all necessary conditions precedent prior to bringing this suit.

                                      VII. PRAYER FOR RELIEF

         7.1     WHEREFORE, Signet respectfully prays that Defendants be served with a copy

of this Complaint, that Defendants be cited to appear and answer in this cause, that Signet be

awarded judgment over and against Defendants for the full amount of its damages, including pre-

judgment and post-judgment interest and court costs, and that Signet be awarded all other such

relief, in equity, in law, or in admiralty, to which it may show itself to be justly entitled.

                                                Respectfully submitted,

                                                /s/Jack C. Partridge______________________
                                                Jack C. Partridge, Attorney in Charge
                                                Federal I.D. No. 10470
                                                1300 Frost Bank Plaza
                                                802 N. Carancahua
                                                Corpus Christi, Texas 78470
                                                (361) 884-8808
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                                                SIGNET MARITIME CORPORATION

OF COUNSEL:

ROYSTON, RAYZOR, VICKERY & WILLIAMS, L.L.P.




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                                CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on July 8, 2020, in accordance with the Federal
Rules of Civil Procedure, the foregoing was served to the following counsel by the means
indicated.

VIA CMRRR AND EMAIL
Dabney Welsh Pettus
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Suite 300, North Tower
Corpus Christi, Texas 78401
dpettus@welderleshin.com

                              /s/ Jack C. Partridge

                              Of ROYSTON, RAYZOR, VICKERY & WILLIAMS, L.L.P.




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